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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

         JASON C. CALLICOTTE,         §    CIVIL ACTION NO.
         et al,                       §    4:20-cv-1369
         (SPN 01401470),              §
                       Plaintiff,     §    JUDGE CHARLES ESKRIDGE
                                      §
                                      §
                vs.                   §
                                      §
         ED GONZALEZ, et al,,         §
                       Defendant.

                                    ORDER

             Plaintiffs’ agreed motion for expediated mediation before a
        federal magistrate between Plaintiffs and Harris County (Dkt.
        #35) is granted. The parties are ordered to be prepared to submit
        to said mediation before Magistrate Judge _________________
        on ___________________________ at _________.
            SO ORDERED.
            Signed on _______________, at Houston, Texas.



                                    Hon. Charles Eskridge
                                    United States District Judge




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